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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


  BEST BRANDS CONSUMER
  PRODUCTS, INC. AND BEST BRANDS                 Civil Action No. 21-cv-20023-JMV
  SALES COMPANY, LLC,


                 Plaintiffs,                     (JURY TRIAL DEMANDED)

  v.

  KITCHINVENTIONS, LLC,

                 Defendant.


                      DECLARATION OF SERVICE OF PROCESS
                      ON DEFENDANT KITCHINVENTIONS, LLC

         I, Lee Goldberg, an attorney with Goldberg Cohen LLP (“GC”), counsel to

  Plaintiff, declare the following under penalty of perjury:

  1.     Plaintiff hereby submits this attached proof of service.

  2.     Defendant Kitchinventions, LLC was served in this matter, as set forth below.

  3.     Plaintiff’s process server effected service of process on Defendant located at 11

         East Riverside Drive, Unit B, Jupiter, FL 33469. The process server served Derek

         T. Monk personally on December 29, 2021.

  4.     More specifically, Plaintiff’s process server served a set of documents containing

         copies of the following:

         a.      Summons in a Civil Action;

         b.      Complaint;

         c.      Corporate Disclosure Statement;
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        d.     Report on the Filing or Determination of an Action Regarding a Patent or

               Trademark;

  5.    Plaintiff is filing this declaration as well as a notarized Affidavit of Service from

        its process server.

  6.    I hereby certify and affirm that all of the facts herein are true based upon my

        personal knowledge, or are believed to be true to the best of my knowledge, and

        certify the truth of these statements under penalty of perjury.

  Dated: December 30, 2021                             /s/ Lee A. Goldberg
                                                       ______________________
                                                       Lee A. Goldberg




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                             CERTIFICATE OF SERVICE

          I hereby certify that on December 30, 2021, a true and correct copy of the
  foregoing document was served via the Court’s ECF system on counsel of record in this
  action.

  Dated: December 30, 2021                   /s/ Lee A. Goldberg
                                             Lee A. Goldberg




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